DOCUMENTS UNDER SEAL
                     Case 3:22-cr-00155-CRB Document 13 Filed 04/26/22 Page 18ofminutes
                                                           TOTAL TIME (m ins):
                                                                                 1
M AGISTRATE JUDGE                        DEPUTY CLERK                           REPORTER/DIGITAL RECORDING:
M INUTE ORDER                           Rose Maher-by Zoom                      Zoom: 12:47-12:55
MAGISTRATE JUDGE                         DATE                                   NEW CASE          CASE NUMBER
Thomas S. Hixson, by Zoom                4/26/2022                                              3:22--cr-00155 VC-1
                                                      APPEARANCES
DEFENDANT                                AGE        CUST  P/NP   ATTORNEY FOR DEFENDANT                PD.     RET.
Jason Dean Costanza-by Zoom               46        N      P       Elisse Larouche-byZoom              APPT.
U.S. ATTORNEY                            INTERPRETER                           FIN. AFFT             COUNSEL APPT'D
Katherine Lloyd-Lovett-by Zoom           n/a                                   SUBMITTED

PROBATION OFFICER           PRETRIAL SERVICES OFFICER              DEF ELIGIBLE FOR            PARTIAL PAYMENT
                            Josh Libby-by Zoom                     APPT'D COUNSEL              OF CJA FEES
                                       PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR             PRELIM HRG       MOTION           JUGM'T & SENTG                        STATUS
      held-indict.                                                                                        TRIAL SET
       I.D. COUNSEL               ARRAIGNMENT             BOND HEARING          IA REV PROB. or           OTHER
                                                                                or S/R
       DETENTION HRG              ID / REMOV HRG          CHANGE PLEA           PROB. REVOC.              ATTY APPT
                                                                                                          HEARING
                                                     INITIAL APPEARANCE
        ADVISED                  ADVISED                 NAME AS CHARGED          TRUE NAME:
        OF RIGHTS                OF CHARGES              IS TRUE NAME
                                                        ARRAIGNM ENT
       ARRAIGNED ON                ARRAIGNED ON             READING W AIVED           W AIVER OF INDICTMENT FILED
       INFORMATION                 INDICTMENT               SUBSTANCE
                                                         RELEASE
      RELEASED           ISSUED                      AMT OF SECURITY      SPECIAL NOTES              PASSPORT
      ON O/R             APPEARANCE BOND             $                                               SURRENDERED
                                                                                                     DATE:
PROPERTY TO BE POSTED                          CORPORATE SECURITY                   REAL PROPERTY:
    CASH    $


      MOTION           PRETRIAL                DETAINED        RELEASED       DETENTION HEARING            REMANDED
      FOR              SERVICES                                               AND FORMAL FINDINGS
      DETENTION        REPORT                                                 W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                           PLEA
   CONSENT                       NOT GUILTY   and         GUILTY                 GUILTY TO COUNTS:
   ENTERED                  denial of forfeiture
   PRESENTENCE                   CHANGE OF PLEA           PLEA AGREEMENT         OTHER:
   REPORT ORDERED                                         FILED
                                                        CONTINUANCE
TO:                               ATTY APPT                BOND                STATUS RE:
6/30/2022                         HEARING                  HEARING             CONSENT                 TRIAL SET

AT:                               SUBMIT FINAN.            PRELIMINARY         CHANGE OF              STATUS
                                  AFFIDAVIT                HEARING             PLEA
1:00 PM by Zoom                                            _______
BEFORE HON.                       DETENTION                ARRAIGNMENT          MOTIONS                JUDGMENT &
                                  HEARING                                                              SENTENCING
Judge Chhabria
        TIME W AIVED              TIME EXCLUDABLE          IDENTITY /          PRETRIAL                PROB/SUP REV.
                                  UNDER 18 § USC           REMOVAL             CONFERENCE              HEARING
                                  3161                     HEARING
                                               ADDITIONAL PROCEEDINGS
Def. consents to hearing by Zoom due to the Pandemic. DPPA Advised. Govt to release discovery. Court so Orders discovery
released. Govt. moves to exclude time STA for effect.prep of counsel. Court orders time excluded betwn: 4/26/2022 -
6/30/2022.
                                                                                    DOCUMENT NUMBER:
